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                               UN ITED STA TES D ISTRICT COU RT
                               SOU TH ERN DISTR ICT O F FLORID A
                                       M IAM ID IV ISION

                             C ase N um ber:21-22215-C lV -M A R TIN E Z

   CHARISSE SANDS,
          Plaintiff,



   ROBERT HA LF INTERN A TION A L,IN C.,

          D efendant.
                                                 /

                                OR D ER O N M O TIO N TO D ISM ISS

          TH IS CAUSE com es before the Coul'ton DefendantRobertHalf Intelmational,Inc.'s

   M otion to Dismiss. (ECF No.6). Aflercarefulconsideration ofthe Complaintand relevant
   briefing,theCourtGRANTS in partand DENIES in parttheM otion to Dismiss.

                                           BA CK G R O U ND

          PlaintiffCharisse Sandsisa dark-skinned African Am erican woman overtheage offol4y.

   (Compl.!!9,58,ECF No.1). ln 2010,shebegan workingforRobertHalf,alegall'ecruitment
   firm.(Id.!!10-11).Plaintiffallegesthatbetween2011and2019shewastherecipientofvarious
   awardsforherperformancè.(1d.!(!12-15).Specifically,in2011,shewasawardedRookieofthe
   Yearbased on herperform ancein recruitm entandplacementoflegalprofessionalswithinthelegal

   industry.(1d ! 12).ln2018,shewasawardedtheStpresident'sClub''distinction forhavingthe
   second fastestgrowing division in theworldatRobel'
                                                    tHalf.(f#.!(13).Thesameyear,Plaintiff
   w asnam ed to the ç'M illio'n D ollarClub,''an accolade given to high revenue generating em ployees.

   (1i jl14).A yearlater,shewasoneoftwenty-fiveemployeesselectedto at4end RobertHalf's
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   Leadership Summit,a program designed to foster skills for directors on a path to advanced

   leadership.(Id.!15).
          In 2018,Robel'tHalfmade Tony Trombetta,a white m ale,the RegionalM anagerofthe

   branchwherePlaintiffworked. (Compl.! 16). Aboutayearinto Trombetta'stenure,Plaintiff
   repol-tedTrombetta'sallegedlnismanagementtotheDistrictPresidentofRobertHalf.(f#.! 17).
   She reported thatTrombetta Ssroutinely did not work on M ondays and Fridays in violation of

   company policy and thathe wasviolating the salestracking rules which affected Sands'team 's

   bonuses.''(1d.! l8).
          After repol4ing Trombetta's conduct,Plaintiff alleges Trom betta began sabotaging her

   productionand leadership,whichimpacted herability to generaterevenue. (Compl.!!I19-20).
   Trombetta allegedly prohibited Plaintifffrom term inating an underperforming worker who was

   notgoingtoimprove.(f#.!22).Healsoadvisedhertobecomean individualproducerbecause
   shewould nothaveany moreopportunitiesforelevated leadership foratleasttwoyears. (f#.!J
   24). BecominganindividualproducermadePlaintiffineligibleforpromotion and impactedher
   earningpotential,(16L).
          Later,RobeM H alfhired Jose Silva,a light-skinned white male,as Division Director to

   manage two team members thatpreviously repoMed to Plaintiff. (Compl.!! 25,61-62).
   Trombet'
          ta authorized Silva to terminate both of Plaintiffs team m em bers, including the

   undeperformingemployeePlaintiffpreviotlslysoughtautllorizationtoterminate.(1d !26).After
   thetelnninations,onlyonenewly-hiredemployeeassistedPlaintiffwith recruiting.(1d.!27).
         Atsomepoint,Trombettalearned thatPlaintiffwasgoingtlu'ough adivorce. (Compl.!
        W hen he learned of this inform ation,Trom bet'ta told Plaintiff she should w ork from hom e

   (sto takecareofherbaby.'' (f#.). Plaintiffhad neverrequested an accommodation dueto her
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   divorce.(1d4.EvenbeforeTrolubettabecameRegionalManager,Plaintiff'sdivorcewaspending,
   and shestillhadoneofthetop-producingteams.(1d.).
          Plaintiffdeclinedtoworkfrom home. (Co1npl.!J29).lnresponse,Trolnbettaattempted
   to Csforce herto w ork from hom e''by tl-ying to take her desk aw ay and requiring thatshe receive

   permissiontocometotheofficefrom team administration.(f:).Plaintiffreportedtheissuesshe
   had with hercoworkersand working conditionsto RobertHalf,butRobel'tHalftook no action.

   (1d.!!30-32).
          Robel-tHalfthen advised Plaintiffthatherproduction had declined. (Compl.! 33).
   Plaintiffattem pted to address herproduction m etrics,stating the m etrics were m isleading and the

   decline wasûtthrough no faultofherown butdue to racialbiases among team m embersand co-

   workerssabotaging herefforts.'' (1d.! 33). Sheattributesherdeclining numbersto l'internal
   attemptsto sabotageherorders,stealing clientsand gRobertHalfj'sfailuretoaddresstheissues
   thatSandscontintlouslyraised.''tfJ !32).RobertHalfallegedly continuedtoignorePlaintiffs
   concernsandultimately terminatedher.(1d.!34).
          After herterm ination,Robel'tHalfprom oted Silva to the sam e leadership position that

   Trombet'tapreviouslyinformedPlaintiffshewasineligiblefortwoyears. (Compl.!35).Robert
   Halfalso terminated anotheremployee Plaintiffhad previously recomm ended firiilg due to his

   hostilework behavior. (1d.!36),PlaintiffallegesRobertHalfimmediatelyfiredthisemployee
   aûerawhiteemployeecomplainedaboutthehostilebehavior.(.J#.).
          O n Septem ber 4, 2020, Plaintiff filed a charge with the U .S. Equal Em ploym ent

   Opportunity Commission((tEEOC'').(f#.!6).OnM arch 18,2021,theEEOC issuedaNoticeof
   Rightto Sue.(1d.!8;seealsoECF No.1-1). Plaintiffinitiatedthisaction approximatelytlu-ee
   m onthslater. Sheraisesclaim sunderseveralstatutory frameworks,including
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                     Title Vll of the Civil Rights Act (dtrritle V1l'') for gender
                     discrimination (CountI),retaliation (Count 11),race discrimination
                     (Count111),andcolordiscrimination (Count1V);
                     AgeDiscrimination in Employm entActof1967 (SCADEA'')forage
                     discrimination(CountV);
                     Florida CivilRightsAct($(FCRA'')forretaliati6n (CountVI),race
                     discrimination (Count VII), color discrimination (Count V111),sex
                     discriminationl(CountlX),andagediscriminationz(CountX). '
   (Compl.at4-12). RobertHalfmovesto dismisstheComplaintforfailureto stateaclaim upon
   whichreliefcanbegranted.(M ot.at1,ECFNo.6).
                                        LE G AL STA ND A RD
                                                          -




          UnderFederalRuleofCivilProcedure 12(b)(6),acomplaintthatttfailgsjtostateaclaim
   upon which relief can be granted''w ill be dism issed. To survive dism issai, a cop plaint m ust

   provide 1ûa shortand plain statem entofthe claim showing thatthe pleaderisentitled to relief.''

   Fed.R.Civ.P.8(a)(2).Atthisstageofthecase,(tthequestioniswhetherthecomplaintûcontains
   sufficientfactualm atter,accepted astrue,to state a claim to reliefthatisplausible.
                                                                                     on itsface.'''

   Worthyv.PhenixCj/y,930F.3d1206,1217(11thCir.2019)(alterationadopted)(quotingAshcrojt
                                            The Court construes the allegations dsin the lightm ost

   favorabletoplaintiff.''Speakerp.US.HHS CDC drPrevention,623F.3d 1371,1379(11th Cir.
   2010).


   1      Plaintiff asserts both a sex and gender discrimination claim (Counts I & lX). Sex
   discrim ination under Title V 11 includes discrim ination based on gender. See generally Prfcc
   Waterhouse v.Hopkins,490 U.S.228,250 (1989). Here,Plaintiff's sex discrimination claim
   (Count1X)makesno mention ofhersex and appearsto bein supportofan age discrimination
   claim.(SeeCompl.!!92-99).Accordingly,theCou14willdismissPlaintiffsCountIX forl'sex''
   discrim ination,butw illconsiderthe allegations setforth in thatclaim w hen evaltlating Plaintiff's
   agediscriminationclaims(CountsV & X).
   2      Plaintiff asserts an age discrim ination claim underthe ttFlorida A ge D iscl-im ination Act.''
   (CountX).Although Defendantiscon'ectthatthereisnosuchAct,theCou14interpretsCountX
   to be broughtunderthe FCRA .
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                                       DISCUSSION

          As explained below,the Cou14 dism isses Plaintiff's age discl-im ination and retaliation

   claims, Herclaimsforrace,gender,and colordiscrimination survivedism issal.

      1. Title V ll and FCIAA Claim s3

          Plaintiff brings claims under Title Vll and the FCRA for gender, race, and color

   discrimination.TitleVIlprohibitsemployersfrom (tdiscriminatgingjagainstany individtlalwith
   respect to com pensation, term s, conditions, or privileges of em ploym ent, because of such

   individual'srace,color,religion,sex,ornationalorigin.'' 42 U.S.C.j2000e-2(a)(1),
                                                                                  'seealso j
   760.10(1),Fla.Stat.$1A TitleVI1plaintiffcan makeacaseby proving eitherdisparatetreatluent
   ordisparate impact.'' Mitchellv.Jefferson Cgzfn/y Bd.ofEduc.,936 F.2d 539,546 (1lth Cir.
   1991). To establish a disparatetreatmentclaim,lûthe employeemustprovethattheemployer
   intentionally discrim inated against1Aer.'' Id ln thealternative,aplaintiffcan Cccan recoverunder

   thedisparateimpacttheoly by proving thatsom eemploym entpracticethatisfacially neutralin its

   treatm ent of sim ilarly situated em ployees has a disproportionately adverse effect on those

   em ployees who are a m em berofsom e protected class.'' 1d.

          Here, Plaintiff presents a disparate treatm ent claim by alleging she w as treated less

   favorably thanothersbecausesheisadark-skinned African Am erican fem aleovertheageofforty.

   Plaintiffcan establish disparatetreatmentin two ways. She can eitherprove disparate treatment

   S'by directevidencethata workplacepolicy,practice,ordecision reliesexpressly on aprotected

   characteristic.'' Equal Emp. Olw or/z/n//.p Com m 'n v. Catastrophe M gm t.Sols., 852 F.3d 1018,




          (CBecause theFCIIA ismodeled afterTitleV1l,and claim sbroughtunderitare analyzed
   underthe sam e fram ework,the state-law claim sdo notneed separate discussion and theiroutcom e
   isthesameasthefederalones.''Alvarezv.RoyalAtl.Devs.,Inc.,610F.3d 1253,1271(11th Cir.
   2010)(internalcitationomitted).
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      1026(11th Cir.2016). Orshecan setforth aprimafaciecaseofdiscrimination by establishing
      that$1(1)gsqheisamemberofaprotectedclass;(2)Lslhewasqualifedfortheposition;(3)Esqhe
      sufferedanadverseemploymentaction;and (4)gsjhewastreatedlessfavorably than asimilarly-
      situatedindividualoutside(herjprotectedclass.''Maynardv.Bd.ofRegents,342F.3d1281,1289
      (11th Cir.2003)(explainingtheelementsofaprimafaciecaseofdiscriminationunderM cDonnell
      DouglasColp.v.Green,411U.S.792,802 (1973)).W ithrespecttothefoul'
                                                                      thelementofaprima
      facie case,tstheplaintiffm ustshow thatsheand theotheremployee weresim ilarly situated in $a11

      relevantrespects.'''Arafatv.Sch.#tf,549F.App'x 872,874(11th Cir.2013)(citationomitted).
      Thismeansthatacomparatorûtshould,generally,have(1)engaged inthesamebasicconduct(or
      misconductl;(2)been subjectto thesameemploymentpolicy,guideline,orrule;(3)beenunder
      thejurisdictionofthesamesupervisor'
                                        ,and(4)sharedasimilaremploylnentordisciplinaryhistory
      totheplaintiff.'' Hesterv.Univ.ofzqla.Birmingham Hosp.,798F.App'x 453,456 (11th Cir.
      2020)(internalquotation marksomitted)(quotingfe'
                                                     wisp.Union Cfry,918F.3d 1213,1227-28
  .
      (11thCir.2019)).Ifaplaintiffestablishesaprimafaciecaseofdiscrimination,thedefendantbears
      the burden ofproducing aneutralexplanation foritsaction,which theplaintiffm ay challenge as

      pretextual. SeeComcastCorp.v.Nat1Ass'
                                          n ofAh-.Am.-owned M edia,140 S.Ct.1009,1019
      (2020).
             ButPlaintiffneed notprove hercase now. To avoid dism issal,PlaintiffCtmustsimply

      provideenough factualm attertoplausibly suggestintentionaldiscrim ination.''Evançv.Ga.Reg'l

      Hosp.,850F.3d 1248,1253 (11th Cir.2017).Thewell-pleaded factsmustCtpermitthecou14to
      inferm orethan ...the m ere possibili'
                                           ty ofunlawfuldiscrim ination.'' facy v.Cit.pofHuntsville



      556U.S.at679)(internalquotation marksomitted);seealsoNarainep.City ofHollywood,No.
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   21-civ-60313,2021U.S.Dist.LEXIS 105914,at*11-12(S.D.Fla.June3,2021)(explaininghow
   tttodeterminewhattheplaintiffmustplausibly allegeattheoutsetofalawsuit,gcpurtsjusually
   askwhattheplaintiffmustproveinthetrialatitsend''(quoting ComcastColp.v.Nat,1Ass'n of
   W#'
     .Am.-ownedM edia,140S.Ct.1009,1014 (2020)).
          Relatedly,the components ofa prim a facie case Ssshould notbe transposed into a rigid

   pleading standard for discrim ination cases.''Swierkiewicz v.Sorema N.A.,534 U.S.506,

   (2002). Thisis
                'especially truewith respecttothefourth elementoftheprimafacie case the
   requirem ent of a similarly-situated comparator. At the m otion to dismiss stage,and even on

   summal-yjudgment,acomparatormay notalwaysbe necessal'y. See Frozwpv.Deloy,861F.
   App'x 291,294 (11th Cir.2021)4Bardelasv.Cjly ofDoral,No.20-cv-24894,2021U.S.Dist.
                                                     ltlf a plaintiff calm otproduce a com parator,

   (sjhe can stillpresenta triable issue offactthrough a Sconvincing mosaic'of circumstantial
   evidencethatwould allow an inferenceofdiscriminatory intent.'' Butts v.CentiM ark Roohng
   Corp.,No.21-12565,2022U.S.App.LEXIS 8354,at*5 (11thCir.M ar.30,2022)(citingLcwj.ç
   v.City ofunionCffy'
                     ,918F.3d1213,1220n.6(11thCir.2019)).A convincingmosaiccomprises
   of(C(1)suspicioustiming,ambiguousstatements...,and otherbitsandpiecesfrom which an
   inferenceofdiscriminatoryintentmay bedrawn,(2)systematically bettertreatmentofsimilarly
   situatedemployees,and(3)thattheeluployer'sjustificationispretextual.''Lewisv.Cityofunion
   Cï/y,934F.3d 1169,1185(11thCir.2019).
          W ith these principles in mind,the Courtturns to the facts presented here. To begin,

   DefendantconcedesthatPlaintiffisamemberofaprbtectedclassandthatshewas.subjecttoan
   adverseemploymentaction.(M ot.at7).Accordingly,theCourtexaminesonlywhetherPlaintiff
   w as qualified for her position and whether Plaintiff adequately alleged a com parator.
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   whetherPlaintiffwasqualified forherposition,PlaintiffallegesthatRobertHalfhiredherin 2010,
                                                                                      .




   shewasawardedtGllookieoftheYear''in2011,shewasawardedtheScpresident'sClub''distinction

   in 2018forbeing partofthefastestgrowing division in RobertHalf,and thatsam eyear,shew as

   placed in the CsM illion DollarClub,''which wasreserved forhigh revenue generatin'
                                                                                    g employees.

   (Compl.!! 11-14).lnaddition,Robel'tHalfselectedPlaintiffasoneoftwenty-fiveemployeesto
   attend itsLeadership Summ itin 2019,a program designed to fosteradvanced skillsfordirectors

   onapathtoadvancedleadership.(1d.! 15).Basedontheseallegations,theCourtcanreasonably
   inferthatPlaintiffwasqualifiedforherposition.

          Next,the CourtevaluateswhetherPlaintiffallegesa comparator. This elementmay be

   satisfied 'sby allegationsthatPlaintiffwas dreplaced by som eone outside the protected class,'or

   that fsim ilarly situated employees outside of the protected class were treated differently.'''

   Naraine,2021U.S.Dist.LEXIS 105914,at*17 (internalcitationsomitted). lmpol-tantly,C1a
   substantiveanalysison whethercomparatorsaresim ilarly situated in a11materialrespectsisbetter

   reserved for summary judgment,following discovery.'' Albertv.Palm Beach Cnfy.##.of
   Comm 'rs,No.21-cv-80804,2022U.S.Dist.LEXIS44645,at*7(S.D,Fla.M ar.14,2022).Even
   so,Csthe Coul'
                t is notprecluded at this stage from determ ining whether Plaintiffplausibly has

   allegedpropercomparators.''ld

          Here,PlaintiffallegesthatTrom betta told her she was ineligible forprom otion fortwo

   years. (Compl.!(! 17-18). So,shebecame an individualproducer. W hen she did,Silva,who
   replaced her, was authorized to term inate employees Plaintiff was denied authorization to

   term inate, and, ultim ately, w as elevated to the leadership position for which Plaintiff w as

   supposedly ineligible. (1d.!! 24-26,35). Applying these allegationsto thetlexiblepleading
   standard im posed here,Plaintiff adequately alleges a sim ilarly situated em ployee outside of her


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   race,gender,and colorwastreated m ore favorably. The Courtdenies RobertHalfsM otion to

   Dism issCounts1,111,lV,V1l,V1lI.

          2. A D EA and FC IG C laim s4

             Plaintiffalso allegesthatRobel'tHalfdiscriluinated againstherbecausesheisoverthe age

   offorty and thatSilva,11ayoungerm ale,''llwasgiven the leadership position thatSandswastold

   wasnotavailable.''(SeeCompl.!!64,105).UndertheADEA,itistlnlawfulforanemployerto
   Ctdischarge any individualorotherwisediscriminateagainstany individualwith respectto hgerq
   compensation,term s,conditions,orprivilegesofemploym ent,becauseofsuch individual'sage.''

   29U,S.C,j623(a).To survivaldismissal,Plaintiffmustadequatelyallege(t(1)that(sqhewasa
   memberoftheprotectedgroup ofpersonsbetweentheagesoffortyandseventy;(2)thatgsqhewas
   subjecttoadverseemploymentaction;(3)thatasubstantiallyyoungerpersonfilledtheposition .
   . .
         from which gsqhewasdischarged;and(4)thatLsjhewasquaiifiedtodothejob....''Suarezv.
   Padron,No.18-cv-23920,2019 U.S.Dist.LEXIS 14838,at*10-11 (S.D.Fla.Jan.29,2019)
   (citation omitted).M oreover,(Cgtlosucceed attrial...theplaintiffmustprovethatagewasthe
   Cbutfor'cause ofthe adverse employm entdecision giving rise to hercom plaint,''Buchanan v.

   DeltaAirLines,Inc.,727F.App'x 639,641(1lth Cir.2018)(citing Grossv.FBL Fin.Servs.,
   Inc.,557U.S.167,177(2009)).
             Plaintifffailstostateaclaim foragediscrim ination becauseshedoesnotadequately allege

   thatSilva isûtsubstantially younger''than her. Al1the ComplaintallegesisthatPlaintiffisover

   forty and thatSilva isyounger.Youngercould m ean aday oradecade.W ithoutadditionalfacts,




             Because federalcase 1aw interpreting the A D EA appliesto cases arising underthe FCRA ,
   thisCou14analyzesPlaintiff'sADEA andFCRA jointly.SeeBentley p.MiamiAir1nt'l,No.16-
   cv-24607,2017U.S.Dist.LEXIS234188,at*714.2 (S.D.Fla.Feb.13,2017)(citingAshkenaziv.
   50uthBrowardHosp.Dist.,607F.App'x 958,960-61(11thCir.2015)).
                                                   9
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       CountsV andX failtostateaclaim upon which reliefcan begranted. SeeRay p.City ofopa-
       Locka,No.12-cv-21769,2012 U.S.Dist.LEXIS 148136,at*5-6 (S.D.Fla.Oct.15,2012)
       (dismissing agedipcrimination claimswhereplaintiffpled Ctthatshewasover40 and theperson
       whofilledtheposition wasyounger''becausetheperson who filled herposition ûtcould bejust
       monthsoreven daysyounger''thanplaintift).
          3. ltetaliation Clainas

              ln addition to herdiscrimination claim s,Plaintiffalleges she was wrongfully retaliated

       againstin violation of Title V 1l and the FCRA . 1tTo state a retaliation claim ,the plaintiffm ust

       establishthatheorsheengaged in protected activity and suffered an adverseemploym entaction,

       and çthattheadverseemploym entaction wascausally related to theprotected activity.'''Jonesv.

       UnityBehavioralHealth,LLC,20-cv-14265,2021U.S.App.LEXIS 34835,at*5(11th Cir.Nov.
       23,2021)(quotingHalperv.BlockbusterEntm '/Corp.,139 F.3d 1385,1388(11th Cir.1998)).
       To adequately allege a causal connection, Plaintiff m ust show (ûthe protected activity and the
   '

       negative employmentaction werenotcompletely unrelated.'' Jones v.Dep 'tof Corr.,792 F.
       App'x.694,697 (11th Cir.2019)(alteration adopted)(quoting Chapter 7Tr.v.GateGoz/rzncf,
       Inc.,683F.3d 1249,1260(11thCir.2012)).(CAtaminimum,aplaintiffmustgenerallyestablish
       that the employer was actually aware of the protected expression atthe time ittook adverse

       employmentaction.'' Clover v.TotalSys.Servs.,Inc.,176 F.3d 1346,1354 (1l!h Cir.1999)
       (citationomitted).Thisawarenessttmaybeestablishedbycircumstantialevidence.''Id.
              Therearetwotypesofstatutorilyprotected conduct:(1)oppositionto(lany practicemade
       an unlawfulemploymentpracticeby this subchapter(the opposition clausel'';and (2)when'a
       person (thas m ade a charge,testifed,assisted,orpal
                                                         4icipated in any m anner in an investigation,

       proceeding,orhearing underthissubchapter(theparticipation clausel.''Ceusv.City ofTampa,


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    803 F. App'x 235, 245                                                          Here,Plaintiffs

    allegations implicate the opposition clause. C(
                                                  A plaintiffcan establish aprimafacie case of
    retaliation under the Opposition Clause ifshe show s thatshe had a Cgood faith,reasonable belief

    thattheemployerwasengaged in unlawfulemploymentpractices.'''Anduzev.Fia.Atl.Univ.,
    151F.App'x 875,878(11thCir.2005)(quotingLittlev.United Techs.,CarrierTransicoldDiv.,
    103F.3d 956,960 (11th Cir.1997)). To satisfy thisstandard,Scgaqplaintiffmustnotonly show
    thatshesubjectively (thatis,in'
                                  good faith)believedthatheremployerwasengaged in unlawf'ul
    employmentpractices,butalsothatherbeliefwasobjectively reasonableinlightofthefactsand
    recordpresented.''1d.(alterationsadopted).
           Plaintiffallegesshetûengaged in protected activity by repol4ing behavior,including racists

    comments,whichviolated gDefendant'sjpolicies.''(Compl.!71,
                                                             .seealsoid.!(46).Shol4lyafter
   reporting thesecomments,Plaintiffcontendsshewastenninated. (Compl.!72).'ButPlaintiff
    does notallege w hen these com m ents were m ade,the contentofthe com m ents,w ho m ade them

    andto whom,orthatthe individtlalordepal4mentresponsibleforherterm ination even knew she

   reported the Clracist com m ents.'' W ithout additional facts, Plaintiff calm ot state a claim for

   l-etaliation.SeeCollinsv.Dep 'tofchildrendrFanlilies,No.19-cv-21236,2019U.S.Dist.LEXIS
    191696,at*4 (S.D.Fla.Nov.5,2019)(dismissing claim forretaliatol'y terminatjon based on
   medicaldiagnosisordisabilitybecausethecomplaintSslackledjany specificityabouthermedical
   condition orthecomplaintsshelnade''),
                                       .Smith p.Bottling Grp.,LLC,No.16-cv-771,2016U.S.
   Dist.LEXIS 66658,at*10 (M .D.Fla.M ay 20,2016) (dismissing l'etaliation clàims because
   plaintiffdid notallege when he complained aboutthe alleged çlracistcommenf'l;Townsend v.


   2016)(finding allegationsof(tracistbehavior''entirely conclusory). W ith respectto Plaintiffs
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   reporttotheDistrictPresidentaboutM r.Trombetta'smismanagement,(Compl.!! 17-18,45),
   thisrepol-tisunrelated to a protected ground andtherefore cannotsuppol-ta claim forl-etaliation.

   See Jones v.Unity Behav.H ealth,LL C,N o.20-cv-14265,2021 U .S.A pp.LEX IS 34835,at*6-7

   (11th Cir.Nov.23,2021)(concluding thatretaliation foradvocating forpay raisesSswithouta
   colmection to discrimination,isn'tprotected activity underTitle VII''). The Courtdismisses
   Counts 11and V l.

                                          C O N CLU SIO N

          Forthe foregoing reasons,itis hereby O R DE RED A N D A D JUD G ED thatDefendant's

   MotiontoDismiss,(ECFNo.6),isGM NTED IN PART AND DENIED IN PART.Counts11,
   V,VI,1X,and X aredismissed withoutprejudice. TheM otion to DismissisDENIED in al1
   otherrespects.

          D O N E AN D O R DER ED in Cham bers atM iam i,Florida,this '
                                                                      j..
                                                                        gdayofJune,2022.
                                                                       ..
                                             '




                                                          i                   ,



                                                 JO SE E.M AR  EZ
                                                 UN ITED STA ES D ISTRICT JU D GE
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